                                                                                           U.S. BANKRUPTCY COURT
                                                                                             DISTRICT OF OREGON
                                                                                                   FILED
                                                                                                 August 9, 2023

                                                                                           Clerk, U.S. Bankruptcy Court

Below is an order of the Court.



                                                                                           U.S. Bankruptcy Judge


OD2 (10/1/21) jbk                          UNITED STATES BANKRUPTCY COURT
                                                    District of Oregon
In re                                                                     )
 The Truck Depot LLC                                                      )
                                                                          )   Case No. 23−31457−pcm11
Debtor(s)
                                                                          )
                                                                          )   ORDER OF DISMISSAL
                                                                          )   AND ADMINISTRATIVELY
                                                                          )   CLOSING CASE
                                                                          )
The Court finding that:
    For the reasons stated on the record at the hearing on August 9, 2023, the U.S. Trustee's motion to dismiss is
    granted.
IT IS ORDERED that:
1. This case is dismissed; this case is closed, but only for administrative purposes.
2. Any trustee (except any Chapter 7 trustee who has already filed a "no asset" inventory and report, and who has not
subsequently collected any estate assets) must file any final account as required by Local Rule 2015−1, and upon filing any such
final account and any additional final report or account required by the UST the trustee shall, without further court order, be
discharged as trustee of the debtor's estate.
3. Any unpaid filing fees are now due and owing. The court will not entertain a motion to reopen this case, or a motion for
reconsideration of this order, unless all unpaid fees are paid.



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                                 Case 23-31457-pcm11               Doc 67       Filed 08/09/23
